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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

                          CASE NO. 16-CIV-25237-GOODMAN
                                 [CONSENT CASE]

  ROBERT STRICKLAND, et al.,

        Plaintiffs,

  v.

  CARRINGTON MORTGAGE
  SERVICES, LLC, et al.,

    Defendants.
  ____________________________________________/

    ORDER GRANTING MOTION FOR PRELIMINARY APPROVAL OF CLASS
  ACTION SETTLEMENT, CERTIFYING CARRINGTON SETTLEMENT CLASS FOR
   SETTLEMENT PURPOSES, DIRECTING THE ISSUANCE OF CLASS NOTICE,
             AND SCHEDULING A FINAL APPROVAL HEARING

        The Court has reviewed the Motion for Preliminary Approval of Class Action

  Settlement of Plaintiffs Robert Strickland, Nicole Masters, and Pedro Santos (“Settling

  Plaintiffs”) with Defendants American Modern Insurance Group, Inc., American

  Modern Home Insurance Company, The Atlas Insurance Agency, Inc., Midwest

  Enterprises, Inc., American Family Home Insurance Company, American Modern

  Surplus Lines Insurance Company, American Western Home Insurance Company,

  American Southern Home Insurance Company, American Modern Insurance Company

  of Florida, Inc., American Modern Select Insurance Company, and American Modern

  Lloyds Insurance Company, (individually and collectively, the “AMIG Defendants”);
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  Carrington Mortgage Services, LLC, Carrington Mortgage Holdings, LLC, and

  Carrington Holding Company LLC (individually and collectively, “Carrington”); and

  Southwest Business Corporation (“SWBC”) (together, Carrington, AMIG Defendants,

  and SWBC are referred to as “Defendants”); including the parties’ Stipulation and

  Settlement Agreement dated April 28, 2017 (the “Settlement Agreement”). [ECF No. 49].

         The Court ORDERS as follows:

         1.     Settlement. Settling Plaintiffs and Defendants have negotiated a proposed

  settlement of Settling Plaintiffs’ claims in this action (the “Strickland Litigation” or the

  “Litigation”), individually and on behalf of a class of borrowers of Carrington,

  described below as the Carrington Settlement Class, to avoid the expense, uncertainties,

  and burden of protracted litigation, and to resolve the Released Claims against (a)

  AMIG Defendants, Carrington, and SWBC, individually and collectively, and each of

  their respective past or present, direct or indirect Affiliates, parent companies,

  subsidiaries, divisions, predecessors, successors, assigns, investors, and all past or

  present officers, directors, employees, agents, insurers, shareholders, advisors,

  consultants, representatives, partners, joint venturers, independent contractors,

  wholesalers, resellers, brokers, distributors, retailers, representatives, and attorneys of

  any such entities or persons; and (b) any trustee or investor of a mortgage securitization

  trust that included loans made to any Carrington Class Member, any owner, investor

  and/or noteholder of the loans Carrington services for which properties LPI was placed


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  for any Carrington Settlement Class Member, including, but not limited to all of their

  respective past, present and future, direct or indirect, divisions, parents, subsidiaries,

  parent companies, and Affiliates, and all of the officers, directors, employees, agents,

  brokers, distributors, insurers, representatives, contractors, successors and assigns, and

  attorneys of all such entities (individually and collectively, “Released Persons”).

         2.     Review. The Court has carefully reviewed the Settlement Agreement, as

  well as the files, records, and proceedings to date in this matter. The terms and

  conditions in the Settlement Agreement are incorporated here as though fully set forth

  in this Order, and, unless otherwise indicated, capitalized terms in this Order shall have

  the meanings attributed to them in the Settlement Agreement.

         3.     Preliminary Approval. The Settlement Agreement entered into by and

  among the Settling Plaintiffs and Defendants was negotiated at arm’s length and is

  approved on a preliminary basis as fair, reasonable, and adequate and within the range

  of possible approval.

         4.     Settlement Class Relief. The proposed Claim Settlement Relief to

  Carrington Settlement Class Members, as identified in Section 4 of the Settlement

  Agreement, is approved on a preliminary basis as fair, reasonable, and adequate. The

  Carrington Settlement Class shall consist of:

         All borrowers in the United States who, from December 1, 2012 through
         the date of entry of this Preliminary Approval Order (“Settlement Class
         Period”), inclusive of those dates, were charged by Carrington for a
         hazard, flood, flood-gap, or wind-only LPI Policy for Residential Property
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         issued by AMIG Defendants and procured by SWBC during the
         Settlement Class Period and who either (i) paid to Carrington all or part of
         the Net Premium for that LPI Policy, or (ii) were charged but did not pay
         and still owe to Carrington the Net Premium for that LPI Policy.

         Excluded from the Carrington Settlement Class are: (i) individuals who
         are or were during the Settlement Class Period officers or directors of
         Carrington, AMIG Defendants, or SWBC, or of their respective Affiliates;
         (ii) any justice, judge, or magistrate judge of the United States or of any
         State, their spouses, and persons within the third degree of relationship to
         any of them, or the spouses of such persons; (iii) borrowers who only had
         an LPI Policy that was cancelled in its entirety such that any premiums
         charged and/or collected were fully refunded or credited to the borrower
         or the borrower’s escrow account; and (iv) all borrowers who file a timely
         and proper request to be excluded from the Carrington Settlement Class.
         Each such qualifying member of the Class shall be referred to as a
         “Carrington Settlement Class Member.”

         The Settlement Class Period shall commence on December 1, 2012, and
         shall continue through and including the date of entry of this Order.

         5.     Preliminary Certification of Settlement Class. For settlement purposes

  only, the Court makes the following determinations as to certification of the Carrington

  Settlement Class:

                5.1.   The Court preliminarily certifies the Carrington Settlement Class

  for purposes of settlement only, under Fed. R. Civ. P. 23(a) and (b)(3).

                5.2.   The Carrington Settlement Class is so numerous that joinder of all

  members is impracticable;

                5.3.   There are questions of law or fact common to the members of the

  Carrington Settlement Class;



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               5.4.   The claims of the Settling Plaintiffs are typical of the claims of the

  other Carrington Settlement Class Members;

               5.5.   Settling Plaintiffs are capable of fairly and adequately protecting

  the interests of the members of the Carrington Settlement Class, in connection with the

  Settlement Agreement;

               5.6.   Common questions of law and fact predominate over questions

  affecting only individual members of the Carrington Settlement Class;

               5.7.   Carrington Settlement Class Members are ascertainable; and

               5.8.   Resolution of the claims in this Litigation by way of a nationwide

  class action settlement is superior to other available methods for the fair and efficient

  resolution of the claims of the Carrington Settlement Class.

        6.     Designation of Class Representative. Settling Plaintiffs Robert Strickland,

  Nicole Masters, and Pedro Santos are designated as the representatives of the

  Carrington Settlement Class for the sole purpose of seeking a settlement of their claims

  against Carrington, AMIG Defendants, and SWBC in the Strickland Litigation.

        7.     Designation of Class Counsel. The law firms of Kozyak, Tropin, &

  Throckmorton, P.A.; Podhurst Orseck, P.A.; and Harke Clasby & Bushman LLP, are

  designated as Class Counsel for the Carrington Settlement Class for the sole purpose of

  the Settlement.




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        8.     Final Approval Hearing. A hearing regarding final approval of the

  Settlement (“Final Approval Hearing”) will be held at 9:30 a.m. on Monday, January 22,

  2018 before Magistrate Judge Jonathan Goodman in the United States Courthouse

  located at 99 NE 4th Street, Eleventh Floor Courtroom Number 11-3, in Miami,

  Florida, to determine, among other things: (i) whether the classwide Settlement of

  Settling Plaintiffs’ claims against Carrington, AMIG Defendants, and SWBC in the

  Strickland Litigation should be approved as fair, reasonable, and adequate; (ii) whether

  the Settling Plaintiffs’ claims against Carrington, AMIG Defendants, and SWBC in the

  Strickland Litigation should be dismissed with prejudice per the terms of the Settlement

  Agreement; (iii) whether Carrington Settlement Class Members should be bound by the

  Release set forth in the Settlement Agreement; (iv) whether Carrington Settlement Class

  Members should be subject to a permanent injunction which, among other things, bars

  Carrington Settlement Class Members who have not opted out of the Carrington

  Settlement Class from filing, commencing, prosecuting, maintaining, intervening in,

  participating in (as parties, class members or otherwise), and from organizing or

  soliciting the participation of other Carrington Settlement Class Members to pursue,

  any action in any jurisdiction based on or relating to any of the Released Claims or the

  facts and circumstances relating thereto; and (v) whether the application of Class

  Counsel for an award of Attorneys’ Fees and Expenses, and proposed Case

  Contribution Awards to Settling Plaintiffs, should be approved.


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         9.     Class Notice.

                9.1.   The Court approves the Class Notice as described in the Settlement

  Agreement [ECF No. 49-1], including the Mail Notice attached as Exhibit B to the

  Settlement Agreement [ECF No. 49-1, p. 100] and the manner of providing Mail Notice

  to Carrington Settlement Class Members described in Section 6 of the Settlement

  Agreement [ECF No. 49-1, p. 35]. The Court finds that Class Notice as described in the

  Settlement Agreement is reasonably calculated, under all the circumstances, to apprise

  Carrington Settlement Class Members of the pendency of this Litigation, the terms of

  the Settlement Agreement, and their right to object to the Settlement or to exclude

  themselves from the Carrington Settlement Class. The Court further finds that Mail

  Notice, Publication Notice, the Settlement Website, and the other forms of Class Notice

  described in the Settlement Agreement are reasonable, constitute due, adequate, and

  sufficient notice to all persons entitled to receive notice, and meet all legal requirements,

  including the requirements of Fed. R. Civ. P. 23 and due process.

                9.2.   The Mail Notice, in the form and content of Exhibit B to the

  Settlement Agreement [ECF No. 49-1, p. 100], shall be mailed by the Settlement

  Administrator not less than ninety (90) days before the Final Approval Hearing

  regarding the Settlement, in the manner described in the Settlement Agreement. The

  Claim Form Instructions and Claim Form, in the form and content attached as Exhibit C




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  (as amended) [ECF No. 55-1] 1 and Exhibit D [ECF No. 49-1, p. 111] to the Settlement

  Agreement, shall be included with the Mail Notice.

               9.3.   A summary Publication Notice, in the form and content attached as

  Exhibit E to the Settlement Agreement [ECF No. 49-1, p. 113], shall be published by the

  Settlement Administrator not less than sixty (60) days before the Final Approval

  Hearing regarding this Settlement, in the manner described in the Settlement

  Agreement.

               9.4.   No later than the posting of the Mail Notice, the Settlement

  Administrator shall establish an Internet site (the “Settlement Website”) that shall

  contain copies of the Settlement Agreement and Exhibits, the Preliminary Approval

  Order, the Mail Notice, Claim Form Instructions, Claim Form; Spanish translations of

  the Mail Notice, Claim Form, and Claim Form Instructions; and such other documents

  as Class Counsel and Defendants’ Counsel agree upon. The Claim Form Instructions

  and Claim Form shall be available to download or print from the Settlement Website. In

  addition, the Settlement Website shall allow for the option of completing Claim Forms

  online on the Settlement Website, utilizing an e-signature format, and of uploading

  required verification documents to the Settlement Website per the instructions on the

  Settlement Website. The Settlement Website shall have a Uniform Resource Locator


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          After filing the Settlement Agreement, the parties submitted to the Court an
  Amended Claim Form. [ECF No. 55]. Any reference to a Claim Form in this Order refers
  to that Amended Claim Form.
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  which identifies the Settlement Website as www.StricklandLPIsettlement.com, or such

  other URL as Class Counsel and Defendants’ Counsel agree upon. The Settlement

  Website shall remain open and accessible through the date on which the Settlement

  Administrator provides a Final Accounting, as described in Section 7.6 of the Settlement

  Agreement. The Settlement Website shall not include any advertising, and shall not bear

  any logos or trademarks of Defendants other than those appearing in the Settlement

  Agreement. Further, the Settlement Administrator shall publish, beginning not less than

  60 days before the Final Approval Hearing, advertisements on the internet directed to

  Carrington Settlement Class Members in form and content mutually acceptable to Class

  Counsel and Defendants’ Counsel as described in the Settlement Agreement.

               9.5.   No later than the posting of the Mail Notice, the Settlement

  Administrator shall also establish a toll-free interactive voice response (“IVR”) phone

  number, without live operators, with script recordings of information about this

  Settlement, including information about the Claim Form, utilizing the relevant portions

  of the Mail Notice and Claim Form. The phone number shall remain open and

  accessible through the last day for Carrington Settlement Class Members to submit a

  Claim Form. The Settlement Administrator shall make reasonable provision for Class

  Counsel to be promptly advised of recorded messages left by Carrington Settlement

  Class Members concerning the Litigation and/or this Settlement, so that Class Counsel

  may timely and accurately respond to such inquiries; provided however, the Settlement


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  Administrator shall review the recorded messages before providing them to Class

  Counsel, and if one or more of the messages requests a blank Claim Form or other

  similar administrative assistance only, then the Settlement Administrator shall respond

  to such administrative request(s), but the Settlement Administrator shall provide all

  other messages to Class Counsel for any further response to the Carrington Settlement

  Class Member.

               9.6.   Carrington Settlement Class Members will be provided an

  opportunity to submit Claim Forms in the form attached to the Agreement as Exhibit C

  (as amended) [ECF No. 55-1], requesting Claim Settlement Relief in accordance with the

  terms of the Agreement. To be considered valid and timely, a Claim Form must be

  signed by the Carrington Settlement Class Member, materially complete as provided in

  the Agreement, and (a) if in paper form, mailed to the address of the Settlement

  Administrator as specified in the Claim Form and postmarked by March 28, 2018

  (“Claim Deadline”), which is at least 60 days after Final Approval Hearing; or (b) if

  submitted electronically via the Settlement Website, be completed and submitted by

  midnight EST on the Claim Deadline. Submitted Claim Forms shall be reviewed and

  handled by the Settlement Administrator in accordance with the Settlement Agreement.

               9.7.   No less than 10 days prior to the Final Approval Hearing, Class

  Counsel shall file a declaration or affidavit from the Settlement Administrator with the

  Court regarding proof of mailing of the Mail Notice, publication of the Publication


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  Notice and of internet advertising, establishing of the Settlement Website, and

  identifying Carrington Settlement Class Members who timely submitted Requests for

  Exclusion.

               9.8.   Class Counsel and Defendants’ Counsel, as jointly agreed, along

  with the Settlement Administrator, are authorized to complete any missing information

  and to make any non-substantive revisions to the Claim Form, Claim Form Instructions,

  Mail Notice and Publication Notice that do not materially reduce the rights of

  Carrington Settlement Class Members prior to disseminating them as necessary to fulfill

  the purposes of the Settlement. The font size, layout, and other presentation elements of

  the Claim Form, Claim Form Instructions, Mail Notice and Publication Notice may be

  adjusted to accommodate printing, mailing and publication considerations.

               9.9.   Carrington, AMIG Defendants, and SWBC shall each comply with

  the notice obligations under the Class Action Fairness Act, 28 U.S.C. § 1715, in

  connection with the proposed Settlement.

        10.    Settlement    Administrator.    The   Court    approves   and    authorizes

  Defendants to retain JND Legal Administration as the Settlement Administrator to

  implement the terms of the Settlement Agreement, and authorizes and directs such

  Settlement Administrator to (a) print and mail the Mail Notice, Claim Form, and Claim

  Form Instructions; (b) establish the IVR phone line system; (c) initiate the Internet

  advertising campaign; (d) establish the Settlement Website; (e) publish the Publication


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  Notice; (f) receive and process Claim Forms; and (g) carry out such other

  responsibilities as are provided for in the Settlement Agreement or as may be agreed to

  by Class Counsel and Defendants, all according to and as provided in the Settlement

  Agreement.

        11.    Exclusion from the Carrington Settlement Class. Any Carrington

  Settlement Class Member who wishes to be excluded from the Carrington Settlement

  Class must send a written Request for Exclusion to the Settlement Administrator by

  first-class mail, postage prepaid, to the address provided in the Mail Notice and

  Settlement Website. Any such Request for Exclusion must be postmarked by December

  13, 2017 (“Opt Out Deadline”), which is no less than thirty (30) days before the Final

  Approval Hearing.

               11.1.   To be valid, the Request for Exclusion must: (a) identify the case

  name and number; (b) identify the name and address of the Carrington Settlement Class

  Member; (c) be personally signed by the Carrington Settlement Class Member

  requesting exclusion; and (d) contain a statement that indicates a desire to be excluded

  from the Carrington Settlement Class in the Strickland Litigation, such as “I hereby

  request that I be excluded from the proposed Carrington Settlement Class in the

  Strickland Class Action.” Mass or class opt outs shall not be allowed.

               11.2.   A Carrington Settlement Class Member who desires to opt out

  must take timely affirmative written action per this Order and the Settlement


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  Agreement, even if the Carrington Settlement Class Member desiring to opt out of the

  Carrington Settlement Class (a) files or has filed a separate action against any of the

  Released Persons, or (b) is, or becomes, a putative class member in any other class

  action filed against any of the Released Persons.

               11.3.   Except for those Carrington Settlement Class Members who timely

  and properly file a Request for Exclusion, all other Carrington Settlement Class

  Members will be deemed to be Carrington Settlement Class Members for all purposes

  under the Settlement Agreement, and upon the Effective Date, will be bound by its

  terms, including, but not limited to, the Releases in Section 10 of the Settlement

  Agreement and a Final Judgment approving the Settlement.

               11.4.   If the proposed Settlement is finally approved, any Carrington

  Settlement Class Member who has not submitted a timely, written Request for

  Exclusion from the Carrington Settlement Class shall be bound by the Judgment and all

  subsequent proceedings, orders, and judgments in this Litigation, even if he or she has

  pending, or subsequently initiates, litigation against Carrington, AMIG Defendants,

  SWBC, or any Released Persons relating to any of the Released Claims as defined in the

  Settlement Agreement.

               11.5.   If the number of Carrington Settlement Class Members who

  properly and timely exercise their right to opt out of the Carrington Settlement Class

  exceeds five percent (5%) of the total number of Carrington Settlement Class Members,


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  the Settling Parties stipulate and agree that Defendants shall have the right, at their

  option, to terminate this Agreement without penalty or sanction.

        12.    Objections and Appearances. Any Carrington Settlement Class Member

  who has not filed a timely written Request for Exclusion and who complies with the

  requirements of this Order and the Settlement Agreement may object to any aspect of

  the proposed Settlement either on his or her own or through an attorney hired at his or

  her expense. Any Carrington Settlement Class Member who wishes to object to the

  Settlement Agreement must do so in writing and must file with the Clerk of Court and

  mail copies to Class Counsel and Defendants’ Counsel, at the addresses listed below, a

  written statement of objection in accordance with the requirements set forth below and

  in the Settlement Agreement, by December 13, 2017 (the “Objection Deadline”), which is

  no less than thirty (30) days before the Final Approval Hearing:

        For Settling Plaintiffs and Carrington Settlement Class
        Adam M. Moskowitz
        Kozyak, Tropin, & Throckmorton, LLP
        2525 Ponce de Leon Blvd., 9th Floor
        Coral Gables, FL 33134
        Telephone: (305) 372-1800
        Facsimile: (305) 372-3508

        Carrington’s Counsel:
        Robyn Quattrone
        Buckley Sandler LLP
        1250 24th Street NW, Suite 700
        Washington, DC 20037

        AMIG Defendants’ Counsel:
        Mark A. Johnson
        mjohnson@bakerlaw.com
        Rodger L. Eckelberry
        reckelberry@bakerlaw.com
        Robert Tucker
        rtucker@bakerlaw.com

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        Baker & Hostetler LLP
        65 East State Street, Suite 2100
        Columbus, Ohio 43215

        SWBC’S Counsel:
        Diana C. Manning
        dmanning@bressler.com
        Benjamin J. DiLorenzo
        bdilorenzo@bressler.com
        BRESSLER, AMERY & ROSS, P.C.
        325 Columbia Turnpike, Suite 301
        Florham Park, New Jersey 07932
        Telephone: (973) 514-1200

               12.1.   The requirements to assert a valid written objection shall be set

  forth in the Mail Notice and on the Settlement Website, and shall include: (a) the case

  name and number; (b) the name, address, and telephone number of the Carrington

  Settlement Class Member objecting and, if represented by counsel, of his/her counsel;

  (c) the basis for the objection; and (d) a statement of whether he/she intends to appear at

  the Final Approval Hearing, either with or without counsel.

               12.2.   Any Carrington Settlement Class Member who fails to object to the

  Settlement in the manner described in the Mail Notice and consistent with this Order

  shall be deemed to have waived any such objection, shall not be permitted to object to

  any terms or approval of the Settlement at the Final Approval Hearing, and shall be

  foreclosed from seeking any review of the Settlement or the terms of the Settlement

  Agreement by appeal or other means.

               12.3.   Subject to approval of the Court, any Carrington Settlement Class

  Member who submits a timely written objection may appear, in person or by counsel, at

  the Final Approval Hearing held by the Court, to show cause why the proposed

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  Settlement Agreement should not be approved as fair, adequate, and reasonable,

  provided that the objecting Carrington Settlement Class Member: (a) files with the Clerk

  of the Court by the Objection Deadline a notice of intention to appear at the Final

  Approval Hearing (“Notice of Intention to Appear”), which must include the case name

  and number and the Carrington Settlement Class Member’s name, address, telephone

  number, and signature; and (b) serves copies of the Notice of Intention to Appear on all

  counsel designated in this Order by the Objection Deadline. The Notice of Intention to

  Appear must include copies of any papers, exhibits, or other evidence that the objecting

  Carrington Settlement Class Member will present to the Court in connection with the

  Final Approval Hearing. Any attorney who intends to represent an objecting Carrington

  Settlement Class Member at the Final Approval Hearing must do so at the Carrington

  Settlement Class Member’s expense and must file a notice of appearance at least two

  weeks before the Final Approval Hearing. Any Carrington Settlement Class Member

  who does not file a Notice of Intention to Appear in accordance with the deadlines and

  other requirements of this Order and the Settlement Agreement will not be entitled to

  appear at the Final Approval Hearing to raise any objections.

        13.    Releases. If the Settlement is finally approved, all Carrington Settlement

  Class Members who have not filed a timely and proper Request for Exclusion shall

  release the Released Persons from all Released Claims, as more fully described in

  Section 10 of the Settlement Agreement, including but not limited to, inter alia, all


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  claims, charges, or demands that relate, concern, arise from, or pertain in any way to the

  Released Persons’ acts, omissions, policies, or practices concerning the placement or

  issuance of LPI Policies, or disclosure or nondisclosure of charges related to the

  advancing of LPI premiums during the Settlement Class Period, allegedly inflated

  premiums charged by Defendants for LPI, alleged “kickbacks” Carrington received or

  AMIG Defendants or SWBC paid in connection with Carrington’s LPI Program

  (including but not limited to alleged no or low-cost loan monitoring services), and all

  acts, omissions, policies or practices of Carrington, AMIG Defendants, and SWBC

  concerning LPI Policies or charges for LPI Policies under the Carrington LPI Program

  during the Settlement Class Period.

        14.    Attorneys’ Fees and Expenses, and Case Contribution Awards. Settling

  Plaintiffs and Class Counsel agree not to seek an award of Attorneys’ Fees and Expenses

  in the Litigation in a total amount that exceeds $1,175,953. Class Counsel and Settling

  Plaintiffs agree not to seek Case Contribution Awards that exceed $5,000 jointly to

  Plaintiffs Robert Strickland and Nicole Masters, and $5,000 to Pedro Santos for their

  work and assistance in this Litigation. Defendants agree not to oppose applications for

  Attorneys’ Fees and Expenses and Case Contribution Awards that do not exceed the

  foregoing amounts.

        15.    Preliminary Injunction. In order to protect the continuing jurisdiction of

  the Court and to effectuate this Order, the Agreement, and the Settlement, all


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  Carrington Settlement Class Members who do not timely exclude themselves from the

  Carrington Settlement Class, and anyone acting or purporting to act on their behalf, are

  preliminarily enjoined from directly or indirectly (a) filing, commencing, prosecuting,

  maintaining, intervening in, or participating in (as parties, class members or otherwise),

  any lawsuit in any jurisdiction before any court or tribunal based on or relating to any

  Released Claims against any Released Persons; or (b) organizing any Carrington

  Settlement Class Members into a separate class for purposes of pursuing as a purported

  class action any lawsuit (including by seeking to amend a pending complaint to include

  class allegations, or seeking class certification in a new or pending action) based on or

  relating to the claims and causes of action, or the facts and circumstances relating

  thereto, in this Litigation and/or the Released Claims.

         16.    Service of Papers. Class Counsel and Defendants’ Counsel and shall serve

  on each other and on all other parties who have filed notices of appearance, at or before

  the Final Approval Hearing, any further documents in support of the proposed

  Settlement, including responses to any papers filed by Carrington Settlement Class

  Members. Class Counsel and Defendants’ Counsel shall promptly furnish to each other

  any and all objections or written Requests for Exclusion that may come into their

  possession and shall file such objections with the Court on or before the Final Approval

  Hearing, unless such documents already appear on the Court’s docket.




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         17.    Termination of Settlement. This Order shall become null and void, and

  shall be without prejudice to the rights of the Parties, all of whom shall be restored to

  their respective positions existing immediately before this Court entered this Order, if:

  (a) the proposed Settlement is not finally approved by the Court, or the Judgment is not

  entered or does not become Final, or the Effective Date does not occur; or (b) the

  Settlement Agreement is terminated per the terms of the Settlement Agreement for any

  reason. In such event, and except as provided therein, the proposed Settlement and

  Settlement Agreement shall become null and void and be of no further force and effect;

  the preliminary certification of the Carrington Settlement Class for settlement purposes

  shall be automatically vacated; the addition of the New Defendants as parties shall be

  void ab initio so that the New Defendants will be as if they were never added as

  defendants to the Litigation; all communications and documents related to the

  Settlement will be subject to Federal Rule of Evidence 408 and all other applicable

  settlement, negotiation and mediation privileges; this Order or other judgment or order

  entered by the Court in accordance with the terms of the Settlement Agreement will be

  treated as vacated, nunc pro tunc; the Settlement Agreement and the Court’s Orders,

  including this Order, shall not be used or referred to for any purpose whatsoever; and

  the Parties shall retain, without prejudice, any and all objections, arguments, and

  defenses with respect to class certification.




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        18.    Use of Order Following Termination of Settlement. This Order shall be

  of no force and effect if the Settlement does not become Final and shall not be construed

  or used as an admission, concession, or declaration by or against Carrington, AMIG

  Defendants, or SWBC of any fault, wrongdoing, breach, or liability, or by or against

  Settling Plaintiffs or Carrington Settlement Class Members that their claims lack merit

  or that the relief requested in this Litigation is inappropriate, improper, or unavailable,

  or as a waiver by any party of any defenses they may have.

        19.    Stay. All proceedings in the Litigation as to the claims of Settling

  Plaintiffs against Carrington, AMIG Defendants, and SWBC are stayed, including

  Defendants’ obligation to file an answer or other response to the Amended Complaint,

  except as necessary to effectuate the terms of the Settlement.

        20.    Necessary Steps. The Court authorizes and directs the Parties to take all

  other necessary and appropriate steps to implement the Settlement as set forth in the

  Settlement Agreement.

        DONE AND ORDERED in Chambers, in Miami, Florida on August 9, 2017.




  Copies furnished to:
  All counsel of record



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